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~C.lc           p   \a\17 t:\~{-"

                                    ~~
Btj   cl.e~enc-la.nt::Q::::>                                   CilDn               o...cl
rn 1001 on0       t:=h e...~                                      u.....::i·-e_re.,  f--u\ ~~
Cl LL) Cl' e       ('.') -('         R-          u    l   C:,, \_ 0 u 0             cla 3
on            8.. e~            n-t \-\--U                 LD ho                    ~ o...cl
C\ \   r ea d ~                c-r led        t:=o                       Q      4:::h:J..s:~J~
p\a      In   1::::-\.. -~          0 eu e r a L                        t::-l   r-n e_Q::J
ari,cl          0~er                      In     lo'\Q ~~                         ~e_6
\::::he::)           dtcl              i::=-h l n9
                                       no                                    Q    6CLJt:::
Lie: un \::::'\ \               a_(?-te:,       ich f:2_                   c.lo3
F\nD\ \(d         Lunged                                    0-lc::       an.d bl~
      Case 2:19-cv-00492-MC      Document 2       Filed 04/03/19   Page 14 of 31


  P\ 0.1 n \:::-l ·~~                                       ·and            th en
  \::::he~        pun1'2::>hcci                         PtO.\n.\:::-l·~ fur
  h \0         rea._c_ t::Lon c".)                    w h l o_h             LU ere
  e_xc,ce,ba.l:::::ed                         bS             hl~            0rn::r_)
  w h l e: h        I ru           t:::0 r- n                e 'X o..c_ .e: 1 baJ:::::e-::r1
  h 1\?':?      0rn.L              rn-orc                    C'c\.rc d      i nci.L)Cffl
   ct.uo          0u t c:...\ c::.\e            c.1.-8-e n-) p ~ > one
  o~        UJ h L c-'- h             rec:t u \ r-e_c1                  t= ULJ o
  d o. ~ 0         1.. o C-:7 p L \::::_ c::\. \ \ 2._c:\_ "= L o n
                                      'd.,_'~
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se ue,e         po\ n    on cl                                Q::> u ~ e r , n 9

o. nci e'/C ct.c_ e.~ bet~ \..On                              o ~       h   LQ:J        Q::J~
mauo r                    C1\Q.JC..\p\1n.o_r~                 0i.c_t=tei11         '>   Q
suLc.1de                   c1.cl-e1't?l::::::-Q:7 -;;         Df::D          \::=-Lrne)
P 8_sc.ho \.091. c:..c1-L                        t:::0,-'c:-ure
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                                   C\o.1rn                    ~or
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                                       o·f:-            ~d.em \              c_ \ Ul,
r1.9htG                   c_,ueL        unuQ:JuG.. L
                                                 ~

Dun\ C-:Jh 0tent::_             L\ ~    u, G::i, c_    tq ~
- L-110\0.t::::\c,r,        o~       e1..gh~         a.rnerY:l
 1'l en \::::: 4='-c-\ , \ u re.__    a         p r o t= eC:. \:::-
                                    ~S
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1nc.arporot::e.S2:J          ea._c_h      c--1. \ \ego.bon
c_ C) n \:::al n-e--_d_ \ \U    p a. ro._9rre1 p h     (\____
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prould t ns         Q::ia_-Ele    L\.U l n.9    Q_01td
L l:t on <??  an cl       c--1 ,e   n._ a l::- Q \ \. o l0 eel
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nc,,              QI   lo   Lu          ~nou..:in                UlC:lOU0                 dogs
l:::::o         Lunge               CLt             on cl          a__ t±-a.__cJ<,            £,rn:t:__
L n "' a. l.::::e-..J2?      .>     cle~ end a nl:::-.u                 CJ. r e.

r eq u \ r-e..d                   -1:::::o      c_o 177. p \. '::j     LUL~h
°'pp\ \C....O bte                  La.w           c1nd             polLC:...\eQJ
pro \::-ec::t\ n9                       p \ o t n t:::ttt0          h e.Cl L ~
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De.~e..11dc1nt:Q:J                       C\,e.            O,<lC\            l.U    ere
o."-00.re              o~          P , o, 1n       +::::-1 ~ 0         0 fQ')I..       and
p I Q c::ec::1          h I rn            , ru           cJ\ 1 re:.c:.~     clC1n9,er
b~             Q \ I OW\    rl9          A           nf"\.oWn             utC.,Lou~
       Case 2:19-cv-00492-MC       Document 2    Filed 04/03/19   Page 16 of 31


                onl:::c:>        o._ n       rn 1-\--u
 whor,,               hcid               Ci \ r c c.1.. d    ~
 G.99 ,eQ:>Q:,l L)C                  p   CiQ:Jt:,.

                                    as
R-c \:::::\179        u n. cle_,   co \or  o ~                               0:Jt:U-\::::e_
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- 1n9 \~                    d1_Q:::>rega.rded                      exce~IVe
r1_0\-"'c<2:J         bo           p\_q_\nt\~f'~                      n_eal\:::h
and               we\'lb-etng                    b'.::::'i       ref'.'uGL1L3
b          t::Cl n e              correc_t:Lue                     o_c::_btofl_Q;,
and        a\ lo w1 n9           Ct1Lcl     c__o n_ 0lo n lng
F\      uLc~LouQ:::J      clc:>9     on\::::o        1::::;-l-t_.e_
rrt \+ u     1:::::-h at=   h c--l_d    on        p c1- Q:7 \::::,
D c c aQJ.QJ Lon &2J          l=c, L e_cl       co          C'_\_ \:±QcJ.\

p \a1n \:::-L f:f:       00.~e+="-/ r c__or, ec~- l::::Lue
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e d       lch e_          6 run t:: 1 rt 9          o {2.-          ·\::::::t--t e
tbr1eua.ne:e               c1._ncl     or       Cl\:)p-e-0._LQ:7 >
d1   <2:>rntQ.?01ng                  che          rna.._uor              d8
c.J I p \ 1 n o r ~                1~ e__ po rt:_    Cl n cl            1:::1-t e_
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ctn c._ e_          6-c:,     p lo I tt t=l b~l2?                QJo._ f::-eb{,
u n cl            .Q-a_\ lure..         eo           l:::::a Ke__       re.cill
onQ6 le                   pro 1::::-ecl:::::-tue__           ~ ea.Q:Ju~
c1.. 8- \:::: e r    \:::h e_    t==- t r£?:?I:::::    Ci t t e rn p \:::: e-d
C-\ctac~                    6~           c_on1ne_                 Phll\1p
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  e s-z.     c_ h.02:? e      --l::-o    L 9 no , e             t::h L°-::>
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cle~e:ndon\:::.              mc-'-r\::::::,\ne:z_            \::=O         6e
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Pa.9e..     17
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  Che..
  d -e G:::> c:. , \ be.-d            he. r e L n        h o.\J -e.    beef)
  rn a\. l cl ou C2:?             >   d\.e \ Lbf":::.1CL ~e      Ln.. tef\t
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concl.uc..~
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D e~e. n d.c~ n           \=: QJ           u   LO ta.. l::ce:d        r L 9 h l:::---27
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6 e. \ 1. -eu ed h LQ?  c:,,  h,er c.ondo:::'..-6:
WC\.Q:J           LCLLD(--o\                or            Wlt=htn                    l:::::he_
6 ound.0                    o·9        ~e.o_ Q::>o n cJLb l e___
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c11 '2::1 c,e.·b\.On , cJ\.e ·f-                                          r1. c\ c~ r--i t<:2:::,               eh u c_-?
 Lo. c. n        C\. u ct\ \ {'- t e cl                                          e:i 1·                         t:ulor~
    \ n7 rtl u n          t:-'--/
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d e0c..r, 6--ed.                                                          \n ,                 p   \a\ r"1          \. ~-
s u \::=a1n cl                                             ctcl::::_ua_                            ctcinrct9e.9:Y
l          1i,clucl1n9                                       cto9                  bL              e)          n1    c1l:::.o\
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C.\   n 9 u l C''2 h )                 p     ':?::;    y           \-,a\ o 9 l C ct L               l::::1-q ~ n-tq
Luo r .e:,,e::r, t n              9             of:.-                  .<::_:::;, n1.:::C )    cl t 0..JC Ip\ tno~
r e por                       ,       y·n o ,-) e. \:=a, -'::-J                                      l   i,-e.. >
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                     p roo -0                          a.                     CrLa.L


      -e.cc,nd                        C. l     a           I ii\      ✓      't--C) r

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m an e          co n c\ L I:::: t on <:2:::> o        c_ o   f-
    1n     e rn e:. n                   (y:;;i__     u,Q7,c  \q8                                                    19h
                                             An,-,e.n  rne1,

                                                c.on---.platr\t::
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 Plain    \ 0 4=-                       r·         C:\ \       1-e.9                                a         r1       c1
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 C\ l \.9                   LOI,                  CC)            \:::=C"tr1.ec:J                \        IL.)

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                                                                                                                   l    n.J
a\ \ou.)ir,9                                               h             OLDn                   U l             lOUQ.::::,

do9               who                    hctcl                           a. t-+---r=r~                   t=ec::k
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wt·,e,e.                        1r,r01a\:::-                                  Cl1          p C7._ \ t:=·.
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t=\                     t=O               I             f=:>       c:1.-Le.c:::l       ?"r-~rnpte_-t\_
A 8-c1.. c h \:::?7                C\ n cl
P \ c1 \ r1 \. -~                       f..c1 r                 LU                                           i~-~ rn_ p t::1'11)
o -(;'.      1--, \ s-:,J                 n7 +       C u e. n                                                1;:__ \----i )3},
l?:i t-\ 9.?              t- C\. {:'. f..       .f-CJ. t \ e c\                                     0              L    C-:::1..   be. L_
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d,e.\16erd                                                1r,c.1t -E2- ·erc1.ltC'e)
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c   r     e L               \la(1.d   u 11 l) c:;              '-J c1.               p u   11       l          l1      fT'\(c'fl

or              ,:> r   \    Q.:JOYt e'.C                            rn o y··        E:". LJ            c·
n7 l)          c1..\l~J                  x-        , ,, ·Po c                 l   r, c1                         .;...:.,,=c.. 6
0 <;:'        1::::h                               Q       6 \._)         e:.. ~>              c.c,             l.,     u,ec)
                                                    ccir,,plcunt=:
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co           c:..rea             e.
t ft \ , u r,-i a. n                                n   L) \ ,        o r..,, .-e:::                        1-••• ,·--.   Q   r1
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cl e (;- e n ol C\ n !:::::" o'.)       \ n..::i   ti, Lr     t n clu. . L\Lciu::1/

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 ct    c \:::u Cl L                     cl                    c
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  c._h o ~ o g \ cct                           I t=-ure > LU o            , >.,-~1---i t(f)3
  o 4--            rTl. L     "'        a. n cJ u l -C.?Jh ')          \:::::- LU
   1 n cl u c:_ e cl         S:.-~-:i u l c... l cl            Cl t±-e t7t p t':::,:J
  rn c'-uo,               dt<2:'.Jc 1 \J \ 1 n c:1.r y              Cl c t totr
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  dcJ,.nt C\_9e                                                       Cln                   CJ\.   m      C)          •t t::;
     6 e.                       cL C?::i c:.. e r -ic=· o. \ r\ e            c:l                   c.1._ c:. c CJ t-c1.l   ()3
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                                             CERTIFICATE OF SERVICE

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I am incarcerated by the Oregon Department of Corrections at Two Rivers Correctional
Institution, Umatilla, OR.

       That on the       d5.._
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                                                    20_Jj_, I personally placed in the
Correctional Institution's mailing service a TRUE COPY of the following:




      I placed the above in a securely enclosed, postage prepaid envelope, to the person(s)
named at the places addressed below:

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